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                                                                                 •ED
                     IN TP-IE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGli^IA                 SEP 1 1 2018
                       NORFOLK/NEWPORT NEWS DIVISION
                                                                                           -\T
UNITED STATES OF AMERICA


V,                                           DOCKET NO.


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                     ACKNOWLEDGMENT OF CERTAIN RIGHTS

      I am the defendant in this criminal proceeding.
      I understand that I do not have to make any statement to anyone in
connection with the charge(s) against me and that if I do make any statements they
may be used against me. I further understand that I carmot be compelled to testify
in this proceeding but that if I chose to testify on my own behalf, as I have the right
to do, I will be subject to cross examination.
       I understand that I have the right to assistance of a lawyer at all stages of the
prosecution against me. I also understand that if I desire legal counsel but am
fmancially unable to obtain counsel, and if there is a possibility that I can be
confined in jail if I am found guilty, the court will appoint a lawyer to represent me
(although, if I am able to do so, the court may require me to reimburse the federal
treasury for the cost of furnishing counsel by making a delayed payment of periodic
payments).

Date:
                                                Defen


Date:     ^lulls'                               Defendant's Attorney

        I hereby waive (give up) my right to have the assistance of a lawyer in this
criminal proceeding.

Date:
                                                Defendant
